Case 1:21-cv-04607-MKV Document 47-5 Filed 12/06/22 Page 1 of 2




PLAINTIFFS’ EXHIBIT E
12/6/22, 4:57 PM    Case 1:21-cv-04607-MKV       Document
                                   FW: RE: CG3 Media               47-5
                                                     et al v. Belleau, Case Filed   12/06/22 Page
                                                                            No. 1:21-cv-04607-MKV        2 of
                                                                                                  - SERVICE   2
                                                                                                            Email

  FW: RE: CG3 Media et al v. Belleau, Case No. 1:21-cv-04607-MKV - SERVICE Email
  From:   fstephenson@keyhanillc.com <fstephenson@keyhanillc.com>
  Sent:   Tue, Dec 6, 2022 at 4:53 pm
  To:     Scott Draffin
  Cc:     Darius Keyhani



  -----Original Message-----
  From: "fstephenson@keyhanillc.com" <fstephenson@keyhanillc.com>
  Sent: Monday, February 28, 2022 5:25pm
  To: jessica@rapid.com, "Etai Lahav" <etai@radip.com>, "Bryon Wasserman" <bryon@radip.com>
  Cc: "'dkeyhani@keyhanillc.com'" <dkeyhani@keyhanillc.com>, "'aengel@keyhanillc.com'"
  <aengel@keyhanillc.com>
  Subject: RE: CG3 Media et al v. Belleau, Case No. 1:21-cv-04607-MKV - SERVICE Email


  Counsel:

  Please find below a link to a source code production:

  [ https://www.dropbox.com/sh/g7lvnr0hba76pmq/AACtMHoCsBcg2RRWPy0h5S92a?dl=0 ](
  https://www.dropbox.com/sh/g7lvnr0hba76pmq/AACtMHoCsBcg2RRWPy0h5S92a?dl=0 )

  Also, you will be receiving a Hightail link shortly containing Bates Nos. CG3001331-1649. The
  password will be sent separately.

  Please note this production contains HIGHLY CONFIDENTIAL ATTYS' EYES ONLY designated source code
  and documents and should be treated accordingly pursuant to the Protective Order (Dkt. 17).

  Kind regards,

  Frances




https://apps.rackspace.com/versions/webmail/19.0.22-RC/popup.php?wsid=a741ba55f0f4490dba90ad1da5b3a21d-282e06437cad4ea9b470d922683…   1/1
